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AO 199C (Rev, 09/08) Advice of Penalties Page Rl 4 Lge
ADVICE OF PENALTIES AND SANCTIONS ae NF Meayo
KANE, Was Y CLERK
TO THE DEFENDANT: MJ- “UNGTo,
_— “USA v. KENNETH RICHARD ROWELL
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS: CR-2:13-cr-06070-SAB-1

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both,

While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (/.¢,, in addition to) to any other sentence you receive.

[Lis a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court, The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.

If, afier release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed, If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more — you will be fined

not more than $250,000 or imprisoned for not more than 10 years, or both:

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years — you will be fined not

more than $250,000 or imprisoned for not more than five years, or both:

(3) any other felony — you will be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) amisdemeanor — you will be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant

acknowledge that | am the defendant in this case and that | am aware of the conditions of release. | promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed, | am aware of the penalties and sanctions set forth above.

Interpreted by (if applicable):

(Sign and Print Name)

Directions to the United States Marshal

rh The defendant is ORDERED released after processing.

has posted bond and/or complied with all oth
the appropriate judge at the time and place sp

Date: AY / LA: ee (OP
JudXial Officer's Signature

SA. GOEKE, U.S. MAGISTRATE JUDGE _

Printed name and title

DISTRIBUTION: COURT DEFENDANT PRETRIAL SERVICE U.S. ATTORNEY U.S. MARSHAL
